Case 10-93904-BHL-11 Doc193 Filed 01/11/11 EOD 01/11/11 19:03:19 Pgilof3

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA

NEW ALBANY DIVISION
In re: §
§
EASTERN LIVESTOCK CO., LLC § Case No.: 10-93904-BHL-11
§
Debtor. § Chapter 11

NOTICE OF APPEARANCE ON BEHALF OF JOHNNY MAYO, JR,

James B. Johnston, of Easterwood, Boyd & Simmons, P.C., pursuant to Rule B-9010-
1(a)(2) of the Local Rules of the United States Bankruptcy Court for the Southern District of
Indiana, hereby enters his appearance as attorney of record on behalf of Johnny Mayo, Jr., an
individual whose address is P. O. Box 317, Eldorado, Texas 76936, in the above-referenced
bankruptcy proceeding.

All notices, pleadings and documents should be served on the attorney of record at the
address indicated below.

Respectfully submitted,

EASTERWOOD, BOYD & SIMMONS, PC
623 N. Main Street

P. O. Box 27

Hereford, Texas 79045

Tel: (806) 364-6801

Fax: (806) 364-2526

e-mail: bjtexas59@hotmail.com

alt. e-mail: bryan@ebs-law.net

Counsel for Johnny Mayo, Jr.

By: /s/ James B. Johnston
James B. Johnston
Texas State Bar No. 10838200

CERTIFICATE OF SERVICE

I hereby certify that on January 11, 2011, a copy of the foregoing Notice of Appearance on
Behalf of Johnny Mayo, Jr. was filed electronically. Notice of this filing will be sent to the
following parties through the Court’s Electronic Case Filing System. Parties may access this

filing through the Court’s system:

David L. Abt
davidabt@mwt.net

John W Ames
jwa@gdm.com
shm@gdm.com
tln@gdm.com
rtrowbridge@kslaw.com

C. R. Bowles

crb@gdm.com
shm@gdm.com
lgw@gdm.com

John R. Carr
jrciii@acs-law.com
sfinnerty@acs-law.com

Deborah Caruso
dcaruso@daleeke.com
tharves@daleeke.com
mthomas@daleeke.com

Bret S. Clement
belement@acs-law.com
sfinnerty@acs-law.com

Jesse Cook-Dubin
jcookdubin@vorys.com
cdtricke@vorys.com

Daniel J. Donnellon

ddonnellon@ficlaw.com

Robert Hughes Foree
robertforee@bellsouth net

Terry E. Hall
terry.hall@bakerd.com

sarah. laughlin@bakerd.com

sharon.korn@bakerd.com

Edward M King
tking@fbtlaw.com
dgioffre@fbtlaw.com

James A. Knauer
jak@kgrlaw.com
has@kgrlaw.com

Randall D. LaTour
rdlatour@vorys.com
cdfricke@vorys.com

Kim Martin Lewis
kim.lewis@dinslaw.com
lisa.geeding@dinslaw.com
Patrick. bums@dinslaw.com

John Hunt Lovell
john@lovell-law.net
sabrina@lovell-law.net

John Frederick Massouh
john.massouh@sprouselaw.com

William Robert Meyer
rmeyer@stites.com

Allen Morris
amorris@stites.com
dgoodman@stites.com

Mark A. Robinson
mrobinson@vhrlaw.com
dalbers@vhrlaw.com

Jeremy S Rogers
Jeremy.Rogers@dinslaw.com
joyce. jenkins@dinslaw.com

Ivana B. Shalleross
ibs@gdm com

Meredith R. Thomas
mthomas@daleeke.com
kmark@daleeke.com

U.S. Trustee
ustpregion10.in.ecf@usdoj.gov

Stephen A. Weigand
sweigand@ficlaw.com

Charles R. Wharton
Charles.R. Wharton@usdoj.gov

David L. LeBas
dlebas@namanhowell.com
koswald@namanhowell.com

Jessica E. Yates
Jyates@swlaw.com
edufficy@swlaw.com

Judy Hamilton Morse
judy.morse@crowedunlevy.com
ecf@crowedunlevy.com
donna.hinkle@drowedunlevy.com
karol.brown@crowedunlevy.com

John Huffaker

john. huffaker@sprouselaw.com
lynn.acton@sprouselaw.com
rhonda.rogers@sprouselaw.com

James T. Young
james@rubin-levin.net
marie@rubin-levin.net

ATTY_JTY @trustesolutions.com

John M. Thompson

john. thompson@crowedunlevy.com
jody.moore@crowedunlevy.com
donna.hinkle@crowedunlevy.com

Matthew J. Ochs
matt.ochs@moyewhite.com
kim.maynes@moyewhite.com
Case 10-93904-BHL-11 Doc193 Filed 01/11/11 EOD 01/11/11 19:03:19 Pg3of3

I further certify that on January 11, 2011, a copy of the foregoing Notice of Appearance on
Behalf of Johnny Mayo, Jr. was mailed by first-class U.S. Mail, postage prepaid and properly
addressed, to the following:

Eastern Livestock Co., LLC
135 W. Market Street
New Albany, IN 47150

Kentucky Cattlemen’s Association
176 Pasadena Drive
Lexington, KY 40503-2900

National Cattlemen’s Beef Association
c/o Alice Devine

6031 SW 37" St.

Topeka, Kansas 66610

/s/ James B. Johnston
James B. Johnston

